           Case 1:03-cr-05453-JLT Document 301 Filed 03/01/06 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    KAREN A. ESCOBAR
     Assistant U.S. Attorney
3    3654 Federal Building
     ll30 "O" Street
4    Fresno, California 9372l
     Telephone: (559) 498-7272
5

6

7

8               IN THE UNITED STATES DISTRICT COURT FOR THE

9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) Cr. F. No. 03-5453 OWW
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            ) ORDER
                                        )
14   EDDY A. GEORGE, et al.,            )
                                        )
15                  Defendant.          )
     ___________________________________)
16

17        Having read and considered the parties’ stipulation to

18   continue the above-captioned matter, based on the government’s
19   request to continue the hearing on the defendants’ new trial
20   motions and sentencing,
21        IT IS HEREBY ORDERED THAT the hearing on the defendants’ new
22
     trial motions and sentencing will be continued from March 13 at
23
     1:30 p.m. to April 21, 2006, at 9 a.m.
24
          IT IS FURTHER ORDERED THAT the government’s response to the
25
     new trial motions will be due on or before March 24 and the reply
26
     to the government’s response and formal objections to the
27

28
                                         1
            Case 1:03-cr-05453-JLT Document 301 Filed 03/01/06 Page 2 of 2


1    presentence reports will be due on or before April 7.           Any

2    optional reply briefs to the formal sentencing objections may be
3    filed on April 14.
4         IT IS SO ORDERED.
5
     Dated: February 28, 2006               /s/ Oliver W. Wanger
6    emm0d6                            UNITED STATES DISTRICT JUDGE

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          2
